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LITTLER MENDELSON
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Ase 2:10-cv-04941-SVW-FFM Document 1

DEMERY RYAN, Bar No. 217176
dryan(@littler.com
, Bar No. 268025

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sammie littler.com
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A Professional Corporation
2049 Century Park East

5th Floor

Los Angeles, CA 90067.3107
Telephone: 310.553.0308
Facsimile: 310.553.5583
E-mail: dryan@littler.com

Attorneys for Defendants
CHRISTIAN LASSEN, and LASSEN
INTERNATIONAL, INC.

Filed 07/06/10 Pagelof26 Page ID#:1

FILED

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

KEN KING, an individual,
Plaintiff,
Vv.

CHRISTIAN LASSEN, an individual;
LASSEN INTERNATIONAL, INC., a
corporation, and DOES 1-50, inclusive,

Defendant.

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NOTICE TO FEDERAL COURT OF
REMOVAL OF CIVIL ACTION
FROM STATE COURT

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TO: THE CLERK OF THE UNITED STATES DISTRICT COURT,
CENTRAL DISTRICT OF CALIFORNIA:

PLEASE TAKE NOTICE that DEFENDANTS CHRISTIAN LASSEN
and LASSEN INTERNATIONAL, INC. (“Defendants”) hereby remove the above-
entitled action from the Superior Court of the State of California for the County of Los
Angeles to the United States District Court for the Central District of California
pursuant to 28 U.S.C. §§ 1441(a) and (b) and 1446. This removal is based upon
diversity of citizenship between the parties.

GENERAL INFORMATION
In support of this Notice of Removal, Defendants state as follows:

1. On April 30, 2010, Plaintiff Ken King (“Plaintiff”) commenced

this action by filing a Complaint in the Superior Court of the State of California,
County of Los Angeles, which is entitled KEN KING, an individual Plaintiff, v.
CHRISTIAN LASSEN, an individual; LASSEN INTERNATIONAL INC., a
corporation, and DOES 1-50, inclusive Defendants, and designated Los Angeles
Superior Court Case No. SC107812.

2. OnJune 7, 2010, Plaintiff personally provided identical copies of
the Summons and Complaint at Defendant Lassen International Inc.’s (“Lassen
International”)’s business headquarters in Paia, Hawaii, and at the San Clemente,
California office of Defendant Lassen International’s certified public accountant, a
non-employee third party vendor to Lassen International. Although Defendants do not
concede that these actions satisfy the service requirements under California, Hawaii,
or federal law, Defendants accept service of the Summons and Complaint as of June 7,
2010. True and correct copies of the Summons and Complaint received by
Defendants are attached hereto as Exhibit 1. Exhibit | constitutes true and correct
copies of all process, pleadings and orders served on Defendants in this action.
Defendants have not previously filed any process or pleadings in this action.

This removal is timely because it is filed within thirty days from the date

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A PROFESSIONAL CORPORATION

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Defendants received the pleadings from which they could first determine this action is
removable and within one year from the commencement of this action. 28 U.S.C. §
1446.

COMPLETE DIVERSITY OF CITIZENSHIP EXISTS

3. This Court has jurisdiction over this action because complete
diversity of citizenship between citizens of different states exists and the matter in
controversy exceeds the sum of $75,000, exclusive of interest and costs. 28 U.S.C. §
1332(a).

4. Complete diversity of citizenship exists between the parties
because:

a. Plaintiff asserts that he resides in California. (See
Complaint §1.) Defendants are informed and believe and on that basis allege that
Plaintiff is, and was at the time this action was commenced, a citizen of the State of
California.

b. Defendant Christian Lassen is, and was at the time this
action was commenced, a citizen of the State of Hawaii. (See Declaration of Christian
Lassen [“‘Lassen Dec.”], §2; Complaint §2.) Christian Lassen has maintained his
primary residence in Hawaii since he was 11 years old, has the intention to continue to
live in Hawaii indefinitely, has paid Hawaiian state income taxes at every job he’s
had, has a Hawaii-issued driver’s license and maintains over 99% of his assets in the
State of Hawaii. (Lassen Dec., 93-7.)

Cc. Lassen International is, and was at the time this action was
commenced, a corporation organized and formed under the laws of the State of
Nevada. (Lassen Dec. 48; Complaint 3.)

d. Lassen International’s principal place of business is in the
state of Hawaii because Lassen International’s center of direction, control, and
coordination is in Hawaii. (Lassen Dec. 49.)

e. For diversity purposes a corporation is a citizen of both the

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state where it is incorporated and the state where it maintains its principal place of

business, with the corporation's principal place of business determined by the location

of its headquarters or "nerve center." Miller v. Swiss Re Underwriters Agency, Inc.,
2010 US Dist. LEXIS 35858, at *1-2 (C.D. Cal. Mar. 15, 2010), citing Hertz Corp. v.
Friend, 130 S. Ct. 1181, 175 L. Ed. 2d 1029, 2010 WL 605601, at *11-13 (U.S. 2010).

Under Hertz, a corporation’s principal place of business is where a corporation’s

officers direct, control, and coordinate the corporation’s activities. Lassen
International’s business activities — including decisions on whether to enter into
licensing contracts for copyright art and the terms of those contracts, whether to enter
into sales agreements for copyrighted art and the terms of those contracts, and direct
internet sales of artworks — are coordinated in Paia, Hawaii at the direction and under
the control of Christian Lassen, who is Lassen International’s sole officer. (Lassen
Dec., 98-10.)
f. Thus, pursuant to 28 U.S.C. §1332(c), Defendant Lassen
International, Inc. is and has been at all material times a citizen of the states of Nevada
and Hawaii.
5. The only other defendants in this action are fictitious. Pursuant to
28 U.S.C. §1441(a), their citizenship must be disregarded for purposes of removal.
THE AMOUNT IN CONTROVERSY EXCEEDS $75,000

6. This action is a civil action where the matter in controversy
exceeds the sum of $75,000, exclusive of interest and costs. The Complaint does not
state the total amount of damages that Plaintiff seeks, but does assert that Plaintiff
seeks damages of at least $200,000 for Plaintiff's unpaid wages claim alone.
Accordingly, based on the nature of Plaintiff's claims and the allegations in his
Complaint, the amount at issue is well in excess of $75,000.

7. Even looking only at the claims and allegations on the face of the
Complaint, the amount in controversy is in excess of $75,000. The Complaint alleges

that Defendants owe Plaintiff “in excess of $200,000” in unpaid wages, before interest

3.

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| | and other statutory damages, for unpaid hours allegedly worked. (See Complaint, {/7.)
2 8. In addition, Plaintiff is seeking punitive damages. Punitive

3 || damages should be considered when determining the amount in controversy. See,
4 | Faulkner v. Astro-Med, Inc., 1999 US Dist. LEXIS 15801, at *5 (N.D. Cal. Oct. 1,
5 | 1999); Gibson v. Chrysler Corp., 261 F.3d 927, 945 (9th Cir. 2001); Romo v. FFG
6 | Insurance Co., 397 F.Supp.2d 1237, 1240 (C.D. Cal. 2005).
7

8

9

9. Therefore, the total amount of monetary relief based on the
allegations in the Complaint is easily in excess of the $75,000 statutory requirement.
Additional amounts for the wrongful termination and retaliation claims also should be
10 | considered in determining the amount in controversy in this action.

11 10. Plaintiff's Complaint also seeks an award of attorneys’ fees. (See
12 | Complaint, Prayer for Relief 7.) It is well-settled that in determining whether a

13 | complaint meets the amount in controversy requirement, the Court should consider

14 | attorneys’ fees. See, e.g., Bell v. Preferred Life, 320 U.S. 238 (1943); Goldberg v.
15 | C.P.C. Int’l, Inc., 678 F.2d 1365, 1367 (9th Cir. 1982) (attorneys’ fees may be taken

16 | into account to determine jurisdictional amounts).

17 As indicated above, with or without taking into account reasonable

18 | attorneys’ fees, the amount in controversy in this action easily exceeds $75,000.

19 11. This action, therefore, is a civil action of which this Court has

20 || original jurisdiction under 28 U.S.C. §1332(a) and which may be removed to this

21 | Court by Defendants pursuant to 28 U.S.C. §§ 1441(a) and (b) and 1446 because it is
22 | acivil action where the matter in controversy exceeds the sum of $75,000, exclusive
23 | of interest and costs, because it is between citizens of different States, and because
24 | Defendants are not citizens of the State in which this action was brought.

25 NOTICE TO COURT AND PLAINTIFF

26 12. Contemporaneously with the filing of this Notice of Removal in

27 || the United States District Court for the Central District of California, written notices

28 | of the removal will be given by the undersigned to counsel for Plaintiff, and a copy of

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this Notice of Removal will be filed with the Clerk of the Superior Court for the State
of California for the County of Los Angeles.

13. Wherefore, having provide notices as required by law, the above-
entitled action is hereby removed from the Superior Court for the State of California
for the County of Los Angeles to the United States District Court for the Central

District of California.

Dated: July iy , 2010

LITTLER MENDELSON

A Professional Corporation

Attorneys for Defendants
CHRISTIAN LASSEN AND LASSEN
INTERNATIONAL, INC.

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EXHIBIT 1
: . Case 2:10-cv-04941-SVW-FFM Document1 Filed 07/06/10 Page 8 of 26 Page ID #:8

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SUMMONS
(CITACION JUDICIAL)

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NOTICE TO DEFENDANT: I |
(AVISO AL DEMANDADO): yon Galt
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CHRISTIAN LASSEN, an individual. LASSEN INTERNATIONAL. PN PD
INC, a corporation, and DOES 1-30 inclusive int

YOU ARE BEING SUED BY PLAINTIFF:
{LO ESTA DEMANDANDO EL DEMANDANTE): es

KEN KING. an individual

|

WOTICE! You have been sued The court may decade agamst you wihaul your being Heard uniess you respond winin 30 days. Read the infonnanen
beeen

Yug Mave 30 CALENDAR DAYS after tts summons and legal papers are served on you to fle 4 written response at tie court and have a copy
served on the plauntit. & jetier or phone call wil not protect you, ‘Your written response musi be in proper fegal forrn f you want the court ta hear your
case There may be a court torm that you can use for your response. You Can find these court forms and more avfonmation at ine Caltomia Cots
Caine Selt- Help Center (www courtuiio oa. .gowlwalthelp). yout county law forary, or the courthouse nearest you if you cannot pay the fing fee ask i
the court clark for a fee waiver farm. If you do aot He your response on tne. you may lose ithe cage by detaull and your wages, money. and property
may be taken sedhaut further warning from the court.

There are other egal requirements, You may want to call an atlomey nght away Wf you do not know an atiomey, you may want to cal art atlorreny
releral serwce. If you canoot afford an attomey, you may De eligible tor tree legal seraces from a nonpromt tegal senaces program, You Gari locate }
these nonprofit groups a1 he Calforma Legal Services Web site (aww, lavheipcaltornns 01g), ihe California Courts Online Set-itep Center
Geww courninia.ca.gov/setheip), of by contacting your local coud or county bar association NOTE: The court has a statutory lien for waived fees and
cass on any settierneant or arbaration award of 310.000 or more wna cil cage The court's den must be pad before the court wil disrniss tne case.
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CONE.

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corte y hager qué se entregue uns copia al demandante. Ling carta 0 utia damada telefGnica ra fo protege. Su respuesta por escnto bene que estar
en fornato legal correcto 81 desea que procesert su cago en 1a Come Es posible qué haya wn formulanie qué usted pueda usar pia su regpasysta.
Puede encontrar estos formularios a ta corte y mas informacin en af Centro de Ayuda ge las Carles Ge Califorua ferwe qucute ca gow), oo @
bidiowca de leyes de su condada o en la corke Que fe quede mas cerca Sino pueda pagar la cuota de preserdacion, pida ai sacretara de ta carte
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pagar el gravamen de (4 corte antes de que la corte puade desectar el C480.

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SUPERIOR COURT OF CALIFORNIA, WEST DISTRICT, 1725 SUI 0 231 2 i
MAIN STREET, SANTA MONICA, CA 90401

The name, address, and telephone number of piantifl's attorney. OF plainstf without an aflarney. is:
iE} momore. fa dineccion y ef numero de teiéfono dal abogade det gemandante, o dei demandante que no bene abageda, ¢5}

Paul J. Wright, Esq. 24955 Pacing! A ‘ee #C 302, Malibu, CA 90265, (310) 456-3812

DATE ay an Clark. by a . Deputy
(Fecha) APR 30 2010 (Secretario) tay (Adjunta)
(Por proof of sence of iS SUMMONS, USE Brool of Service of Summons (form POS-07G) } “unt “

(Para preeba de entrega de esta atation use ef formulano Proat of Seruce of Summons, (POS-010)). “* i
NOTICE TO THE PERSON SERVED: You are served ‘

+h | as an individual defandant

2. C4 ag the person sued under the fictitious name ot (specify)

4 Ss on behait of (soecrfy} Lache VV anteviss Wa SL INC. t A Covpartting

under BE) CCP 416 10 (corporation) [7] CCP 416.60 (minon

: mo") CCP 416 20 (defunct corparation) P| CCP 416.70 (conservates)

| CCP 416.40 (assomation ar partnership) ["] CCP 416.90 (authorized person)
other (specdy)

4. (TT) by personal dehvery on (date)
Page t oft

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Case 2:10-cv-04941-SVW-FFM Document1 Filed 07/06/10 Page 9 of 26 Page ID #:9

i |) PAUL J. WRIGHT, CSB No. 146809
Attorney At Law

2 94955 Pacific Coast Highway, Suite C02
Malibu, California 96265
Telephone (310) 456-3812 Aree
4 | Facsimile (310) 456-8558 Joe SS?

3 Attorney for Plaintitl Bhp LL fe Grey. PSgarty
‘ KEN KING, an individual
}
7
g SUPERIOR COURT OF THE STATE OF CALIFORNIA
4 COUNTY OF LOS ANGELES
10 UNLIMITED JURISDICTION
t i .
" SCLOS12
12 KEN KING, an individual ) CASE NO.
}
13 Plainutf, } COMPLAINT FOR WRONGFUL
) TERMINATION, VIOLATION OF
4 pow, ) LABOR CODE SECTION 203, ET.
. » SEQ., AND RETALIATION
15 | CHRISTIAN LASSEN, an individual; )
16 LASSEN INFERNATIONAL INC, a ) : gon VAST COLE
corporation, and DOES 1-50 inclusive )
4 “pe CASE MANAGEMENT CQNFERENCE
Defendants. ) 9 2010 bn
18 }
es ee Date *,
19 ARS hinys
4
0 Plaintiff alleges: |
+} FIRST CAUSE OF ACTION
22 (Wrongful Termination)
23 L. Plaintiff, KEN KING (hereinafter reterred to as “Plaintiff”), 1s an individual
24 residing in the City and County of Los Angeles, Califorma.
25
26
COMPLAINT FOR WRONGFUL TERMUNATION, VIOLATION OF LABOR CODE
27 SECTION 103, ET SEQ.. RETALIATION

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. Case 2:10-cv- - -
v-04941-SVW-FFM Document1 Filed 07/06/10 Page 10 of 26 Page ID #:10

! 2. Plaintiff is informed and believes that at all times herein mentioned, Defendant
21 CHRISTEAN LASSEN (hereinaiter referred to as “Defendant” ) is an individual residing in the
; cities of Halerwa and Honolulu, Hawai

4 3, Plamrff is informed and belreves that at all times herein mentioned, Defendant
5

6 LASSEN INTERNATIONAL, INC, isa Nevada foreign corporation with its principal place of
4 business located at 8363 W. Sunset Road, Surte 400, Las Vegas, Nevada 89113.

8 4, Defendants DOES | through 50, melusrve, are sued herein under fictivous names.

9 || Their true names and capacities are unknown to Plaintiff, When their true names and capacities

10 | are ascertained, Plaintiff will amend this complaint by inserting their true names and capacities

Mt here. Plaintiffis informed and belteves and thereon alleges that each of the fictitiously narned
12 no: .
defendants is responsible in some manner for the occurrences herein alleged, and that Plaintiff's
13
damages as herein alleged were proximately caused by those Defendants. Each reference in this
14
ve complaint to "Defendant", “Defendants,” or a specifically named Defendant refers also to all
1S
16 Defendants sued under fictitious names.
17 5. Plaintiff is informed and beheves and thereon alleges that Defendant LASSEN

ig | INTERNATIONAL, INC.. was, and ts, a mere sham and shell organized and operated as the

19 alter ¢go of the individual Defendant. CHRISTIAN LASSEN (“Individual Defendant”) for their

20 personal benefit and advantage. Plaintiff is informed and believes and thereon alleges that the
71 Individual Defendant and Defendant LASSEN INTERNATIONAL, INC. have so intermingled
” their personal and financral affairs that the corporate Defendant LASSEN INTERNATIONAL,
INC. was, and is. the alter cgo of CHRISTIAN LASSEN, an individual. The Individual
5 Defendant has at all material umes berem exercised total dominion and control over Defendant
26

COMPLAINT FOR WRONGFUL TERMINATION, VIOLATION OF LABOR CODE
27 | SECTION 203, ET SEQ., RETA LEATION
2k whe

. Case 2:10-cv-04941-SVW-FFM Document 1 Filed 07/06/10 Page 11o0f26 Page ID #:11

| LASSEN INTERNATIONAL, INC. Aninjustice will result if the theoretical entity of LASSEN

21) INTERNATIONAL, INC. ts not disregarded and the Individual Defendant is not held hable for
; the acts of LASSEN INTERNATIONAL, ENC.

, 6. in or about November, 2008, Plaintiff Ken King commenced full time
: employment for Detendant, Christian Lassen ari Defendant Lassen International, Inc.
7 (hereinafter collectively referred to as Defendant Lassen”) for the agreed amount of $3 500 per |

8 month for a forty (40) hour work week. In addition, it was agreed that Plaintiff would reside in
g | an apartment owned by Defendant Lassen which had a value of $ 1,500 per month as part of his

10 compensation,

it 7. Over a period of eleven (10) months before Plaintiff was wrongfully terminated,
2 he was forced to werk massive amounts of overtime to the extent. that he worked a total of
8 3.326.5 hours but was only paid for 880 hours. Accordingly, 2,446.50 hours were unpaid to
14

1s Plaintiff. Plaintiff should have been pad at the statutory rate. The unpaid hours of time owed
16 to Plaintiff amounts to in excess of $700,000 before interest and other statutory damages.

17 8. Asset forth hereinbelow, Plaintiff was forced to endure humiliation, derogation,

ig | and the following harassing and retaliatory conduct by Defendant Lassen:
19 | (1) Defendant repeatedly addressed Plaintiff as “honey”, “girl”, “sweetie”,

“dick”, and other derogatory names,

2 . . ss .
{2} Defendant constantly mocked Plaintiff as “his Gay assistant”;

22

(3) On many occasions, Defendant would walk around in bis underwear
23
34 asking Plamtiff to de things for him, and on some occasions, he was also
25 nude:
26

COMPLAENT FOR WRONGFUL TERMINATION, V TOLATION. OF LABOR C ODE

27 SECTION 203, ET SEQ., RETALIATION
28 -3-

. Case 2:10-cv-04941-SVW-FFM Document 1 Filed 07/06/10 Page 12 of 26 Page ID|#:12

| (4) Plaintiff was required to pick up girls ona regular basis for Defendant's
1 + . . aoe
- use whereupon Defendant paid them monies owed to Plainntf.
(3) The last two times Plaintift’s daughter came to vist Plaintiff, Detendant
4 . . bye + oe .
terminated Plaintiff and locked him out of the residence.
4S
(6) Plaintiff was forced to work a imtassive amount of overtime ard was
&
+ often not able to cat during the day. always worked more than an. & hour
g day, more like 12-18 hours and was never given any time off, nor was
g Plainntfable to eat during the day. Defendant would go eat and Plaintiff
19 had to sit in the car and wait for hum.
uN (7) Defendant never paid Plaintif overtime and never paid his
12
unemployment insurance, medical msurance, of any benefits.
13
9. Before Plaintiff's wrongful termmation, Plaintiff confronted Defendant Lassen
14
with regard to passing of Defendam Lassen’s paintings as original art by Defendant Lassen
15
16 when, in fact. Defendant Lassen was hiring paniters to paint the art and then signing the artwork

i7 | asan original by Defendant Lassen. Plaintiff also confronted Defendant Lassen regarding his
1g} constant sex with under-aged girls and his use of alcohol to make them compliant to his conduct.

19} Defendant Lassen’s behavior in terminating Plaintiff and the discrimination Defendant

20 1 evidenced against Plaintiff because of his sexual orientation, and against Plamuff's daughter,
21 . .
were also inappropriate. wrong and harassing.

22
34 TO. Plaintiff worked up to 18 hours a day, 7 days a week during the 1} months of his
54) employment. Defendant Lassen failed te compensate Plainuff for the overtime he worked m
25
26

COMPLAINT FOR WRONGFUL TERMINATION, VIOLATION OF LABOR CODE
27 SECTION 263, ET SEQ., RETALIATION

28 ~4t-

~ Case 2:10-cv-04941-SVW-FFM Document1 Filed 07/06/10 Page 13 0f 26 Page ID}#:13

i | violation of Labor Code Section 203, et seq. Instead when Plaintiff confronted Defendant

«ll regarding his conduct and insisted he be properly paid for the many hours of overtime at the
3 . ~ og

appropriate rate, Defendant responded by terminating Plamtilf.
4 . ‘ ’ a ~

Ll. Asa proximate resultofthe wrongful termination and the conduct of Defendants,

§

and each of them, Plaintiff has been damaged in an amount that will be proved at Trial which
6
_ | amount is in excess of the jurisdictional mmimum of thes Court.
8 12. Defendants, and each of their conduct was willful, intentional and/or malicious,

g || entitling Plaintiffto punitive damages in an amount that will deter Defendants, and each of them,

10 | from such finure conduct.

uM SECOND CAUSE OF ACTION

2 (Violation of Labor Code Section 203, et seq.)

| 13. Plaintiff realleges and incorporates herein by reference paragraphs | through 12
hereinabove as though fully set forth herein.

16 14. Before Plaintiffs wrongful termination, Plamttf confronted Defendant Lassen

17 | with regard to passing of Defendant Lassen’s paintings as original art by Defendant Lassen
1g | when. in fact, Defendant Lassen was hiring painters to paint the art and then signing the artwork

19 fas an original by Defendant Lassen. Plaintiff also confronted Defendant Lassen regarding his

201 constant sex with under-aged girls and Ins use of alcohol to make them compliant to his conduct.
| Defendant Lassen’s behavior in terminating PlannfY and the discrimination Defendant
3
* evidenced against Plaintiff because of his sex ual orientation, and against Plaintiff's daughter,
23
14 were inappropriate, wrong and harassing.
25
26 i

COMPLAENT FOR WRONGFUL TERMINATION, VIOLATION OF LABOR CODE
27 SECTION 103, EF SEQ. RETALIATION
2k 4.

. Case 2:10-cv-04941-SVW-FFM Document 1 Filed 07/06/10 Page 140f26 Page ID#:14

15. Plaintiff worked up to 18 hours a day, 7 days a week during his 11 months of
° employment, Defendant Lassen failed to compensate Plaintiff for the overtime he worked in
violation of Labor Code Section 203, et seq. Instead when Plaintiff confronted Defendant
5 regarding his conduct and insisted he be properly paid for the many hours of overtime at the
6 appropriate rate, Defendant responded by terminanng Plaintiff.

7 16. Asaproximate result of the wrongful termination and the conduct of Defendants,

8 | and each of them, Plaintiff has been damaged in an amount that will be proved at Trial which

J 4 amount is in excess of the jurisdictional minimum of this Court which includes but is not limited

10 to the payment of overtime with penalties thereon.

THIRD CAUSE OF ACTION

7

. (Retaliation)

4 17, Plainuff realleges and incorporates herein by reference paragraphs | through 18

1S hereinabove as though fully set forth herem.

16 tl 18. Before Plaintiffs wrongful termination, Plaintiff confronted Defendant Lassen
17 | with regard to passing of Defendant Lassen’s paintings as original art by Defendant Lassen
18

when, in fact, Defendant Lassen was hiring painters to paint the art and then signing the artwork

as an original by Defendant Lassen. Plaintiff also confronted Defendant Lassen regarding his
20

constant sex with under-aged girls and his use of alcohol to make them compliant to his conduct.
21

Defendant Lassen’s behavior in terminating Plaintiff and the discrimination Defendant |
22
53 evidenced against Plamntf because of his sexual orientation, and against Plamtiff's daughter,

24} were inappropriate, wrong and harassing.

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26
COMPLAINT FOR WRONGFUL TERMINATION, VIOLATION OF LABOR CODE
27 SECTION 203, EF SEQ., RETALIATION
28 -6-

. Case 2:10-cv-04941-SVW-FFM Document1 Filed 07/06/10 Page 15o0f26 Page ID#:15

19 Plaintiff worked up to 18 hours a day, 7 days a week during his I] months of
2
employment. Defendant Lassen failed to compensate Plaintiff for the overtime he worked tn
3
violation of Labor Code Section 203 et seq. Instead when Plaintiff confronted Defendant
4
5 regarding his conduct and insisted he be properly paid for the many hours of overtime at the
6 appropriate rate, Defendant responded by retaliating and terminating Plaintef,
7 20. Asa proximate result of the retaliation and wrongful termination and the conduct

8 of Defendants, and each of them, Plaintiff has been damaged in an amount that will be proved

9H ot Trial which amount Is in excess of the jurisdictional minimum of this Court.
10 > - a ed: . _.
21. Defendants, and each ot their conduct was w illful, intentional and/or malicious,

Hl

entitling Plaintiff te punitive damages man amount that will deter Defendants. and each of them,
12

from such future conduct.
13
4 WHEREFORE, Plaintiff prays for Judgment against Defendants, and-each of them. |
18 jointly and severally as follows:

16 | ON THE FIRST CAUSE OF ACTION:

17 1. For damages in the amount m an amount to be proved at Trial which amount is in
13 | excess of the jurisdictional minimum of this Court.
19 . . - -
2. For punitive damages to deter Defendants, and each of them, from any such future
20
conduct.
21
, ON THE SECOND CAUSE OF ACTION:
22
44 3. For damages in the amount in an amount to be proved at Trial which amount is in

+4 || excess of the jurisdictional minimum of this Court.

25
2%
COMPLAINT FOR WRONGFUL TERMINATION, VIOLATION OF LABOR CODE
27 SECTION 203, ET SEQ., RETALIATION
28 7.

. Case 2:10-cv-04941-SVW-FFM Document1 Filed 07/06/10 Page 16 of 26 Page ID #:16

1} ON THE THIRD CAUSE OF ACTION:

ba

5. For damages in the amount in an amount to be proved at Trial which amount is m

Led

excess of the jurisdictional minimum of this Court.
6. For punitive damages to deter Defendants. and each of them, from any such future
comduct,

ON ALL CAUSES OF ACTION:

8 7. For attorney's fees and costs of suit herem,
9 8 For such other and further relief as this Court may deem just and proper.

1G a oT ee _
DATED: April 21, 2010 Mere

a PAUL Sw RIGHT.
1? Attorne aintiff, Ken King

pc OMPLAINT FOR WRONGFUL TERMINATION, VIOLATION OF LABOR CODE
27 SECTION 203, ET SEQ, RETALIATION

28 whe

. Case 2:10-cv-04941-SVW-FFM Document1 Filed 07/06/10 Page 17 of 26 Page ID #:17

SCLO7S12

CASE NO.

TO PLAINTIFFS AND PLAINTIFFS’ ATTORNEYS OF RECORD or PLAINTIFFS
IN PRO PER:

IT IS HEREBY ORDERED AND YOU ARE HEREBY NOTIFIED that this action shall

be assigned to a Judge for all purposes, including trial, as follows: *
LISA Lib orr peg Department:
a Santa Monica Courthouse oO Judge Richard A. Stone
1725 Main Street Beverly Hills Courthouse
Santa Monica, CA 90401 Deparment WE-X

9355 Burton Way
Beverly Hills, CA 90210

IT IS FURTHER ORDERED THAT PLAINTIFF OR CGUNSEL FOR PLAINTIFF
SHALL GIVE NOTICE OF THIS ALL-PURPOSE CASE ASSIGNMENT by serving a copy
of this Notice on all parties to this action at the time the Summons and Complaint are served, or, if
not a served party, then when such party (including any cross-defendant or complainant-m-
intervention) appears in the action.

CASE MANAGEMENT REVIEW AND CONFERENCE: Upon the filing of the
Complaint, a Case Management Review and Conference will be calendared for hearing in the Court
to which the case is assigned. The hearing date will be stamped upon the face of the Complaint.
Plaintiff shall give notice of the Case Management Review and Conference to all named parties in
conjunction with service of the Summons and Complaint and include any later appearing party such
as a cross-defendant or complainant-in-intervention served within this time period. Proof of service
must be brought to the hearing if not previously filed. Failure to timely file proof of service of
Summons and Complaint within 60 days after filing the Complaint (CRC 3.110) may result in an
Order to Show Cause re sanctions being issued. (CRC 3.11008.)

if a case is assigned to Department X, lecated in the Beverly Hills Courthouse, all
documents, pleadings, motions, and papers filed subsequent to the original Complaint shall be filed
directly in the courtroom stamped upon the Complaint.

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TIME STANDARDS: Cases will be subject to processing under the following time
standards:

COMPLAINTS: All Complaints shall be served on all named defendants and proof of
service filed within 60 days after the filing of the Complaint. The Court may set am OSC re failure.
to file proof of service of Summons and Complaint if not timely filed. (CRC 3.110(b).)

CROSS-COMPLAINTS: No Cross-Complaint may be filed by any party after its answer
is filed without first obtaining leave of court. Cross-Complaints shall be served and proof of service
filed within 30 days of the filing date, unless a party has appeared in the action. (CRC 3.1 HX(c).)

APPLICABLE RULES: Counsel as weil as self-represented parties are directed to
familiarize themselves with the Local Rules for the County of Los Angeles, particularty Chapter 7
(Trial Court Delay Reduction), Chapter 8 (Civil Trial Procedure), Chapter 9 (Civil Law and
Motion), and California Rules of Court relating to civil case management. These Rules apply to all
general civil cases and shall have priority over all other Local Rules to the extent the others are
inconsistent.

CHALLENGE TO ASSIGNED JUDGE: A challenge under Code of Civil Procedure
Section 170.6 must be made within 15 days after notice of assignment of the Judge, or if a party has
not yet appeared, within 15 days of the first appearance of that party. (Government Code
Section 68616, subdivision (i); Local Rule 7.5.)

CONFERENCE: Pursuant to CRC 3.724, no later than 30 calendar days before the date set for the
Case Management Confer , the parties must meet and confer, in person or by telephone, to
consider cach of the issues identified in Rule 3.727 and, in addition, te consider the following:
® Resolving any discovery disputes and setting a discovery schedule;
(2) Identifying and, if possible, informally resolving any anticipated motions;

(3) Identifying the facts and issues im the case that are and may be the
subject of stipulation;

(4) Identifying the facts and issues in the case that are in. dispute;

(5) Determining whether the issues im the case can be narrowed by climimatmg any
claims or defenses by means of a motion or otherwise,

(6) Determining whether settlement is possible;

{7} Identifying the dates on which all parties and their attorneys are available or not
available for tial, including the reasons for unavailability, and

(8) Other relevant matters.

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Pursuant to CRC 3.725, no later than 15 calendar days betore the date set for the Case
Management Conference or Review, cach party must file a Case Management Statement and serve
it on all other parties in the case. In lieu of each party's filing a separate Case Management
Statement, any two or more parties may ftle a jomt Statement.

The subjects to be considered at the Case Management Conference shall include the
following (CRC Rule 3.727):

hy Whether there are any related cases:

(2) Whether all parties named in the Complaint or Cross-Complaint have been served,
have appeared, or have been dismissed,

(3) Whether any additional parties may be added or the pleadings may be amended,
(4) Whether, if the case is a limited civil case, the economic litigation procedures under
Code of Civil Procedure Section 90 et seq. will apply to it or the party intends to

bring 2 motion to exempt the case from these procedures;

(3) Whether any other matters (¢.g., the bankruptcy of a party) may affect the Court’s
jurisdiction or processing of the case;

(6) Whether the parties have stipulated to, or the case should be referred to, judicial
arbitration in courts having a judicial arbitration program or to any other form of
alternative dispute resolution (ADR) process and, if so, the date by which the judicial
arbitration or other ADR process must be completed,

(7) Whether an early settlement conference should be scheduled and, if'so, on what date;

(8) Whether discovery has been completed and, if not, the date by which i will be
completed;

(9 What discovery issues are anticipated;

(i8) Whether the case should be bifurcated or a hearing should be set for a motion to
bifurcate under Code of Civil Procedure Section 598;

(42) Whether there are any Cross-Complaints that are not ready to be set for trial and, if
so, whether they should be severed;

(12) Whether the case is entitled to any statutory preference and, if so, the statute granting.
the preference,

(13) Whether a jury trial is demanded and, if so, the identity of each party requesting a
Pury tried;

. Case 2:10-cv-04941-SVW-FFM Document1 Filed 07/06/10 Page 20 of 26 Page ID #:20

(14) sf the trial date has not been previously set, the date by which the case will be ready
for trial and the available trial dates;

(15) The estimated length of tal,

(16) The nature of the injuries;

(17) The amount of damages, including any special or punitive damages,
(18) Any additional rehef sought,

(19) | Whether there are any insurance coverage issues that may affect the resolution of the
case; and

(20) Any other matters that should be considered: by the Court or addressed in its Case
Management Order.

SANCTIONS: The Court has authority to impose appropriate sanctions for the failure or
refusal to. comply with provisions of the California Rules of Court and Local Rules governing time
standards and case management conference requirements or deadlines. Such sanctions may be
imposed upon counsel, a party, or both, as permitted by rule, statute, or law.

This is not a complete representation of the applicable Local Rules or California Rules of
Court, and adherence onty to the above provisions is therefore not a guarantee against the
insposition of sanctions under the Trial-Court Delay Reduction Roles. Carefal reading. and
compliance with the Local Rules.and California Rutes of Court are absolutely imperative.

GERALD ROSENBERG, visi
Los Angeles Superior Court, West District

ADMIN/LM - 12/1/09

4.

* . Case 2:10-cv-04941-SVW-FFM Document1 Filed 07/06/10 Page 21 0f26 Page ID#:21

NAME, ADDRESS AND PHONE NUMBER FILE STAMP
SF ATTORNEYS

Attomey(s) for.

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

CASE NUMBER
PLAINTIFF(S}.
vs. STIPULATION AND ORDER
RE BINDING ARBITRATION
DEFENDANT(S).

Status Conference Date:
AL aim. in Deparument_i

sic asec teases apnea seats a ne era Rp tee ea pene See EOE sae a

BIRR ae eT EI erecta Say

| THE PARTIES SHOULD CONSIDER BINDING ARBITRATION. BINDING ARBITRATION PROVIDES FIRALITY AND ELIMINATES i
h COURT APPEARANCES. THE ARBITRATION [5 PROVIDED AT HO COST TO THE PARTIES, IF THIS STIPULATION IS SIGNED AND §

| FILED DIRECTLY IN THE ABOVE DEPARTMENT, FIVE COURT DAYS PRIOR TO THE DATE SET FOR THE STATUS CONFERENCE,
| HO APPEARANCE (S REQUIRED AT THE STATUS CONFERENCE.

iis grr once

The parties and them attorneys, hereby stipulate as follows:

1. The matter shall be submitted to binding arbitration and the parties waive their right to a tral de novo as
provided in Califorma Code of Civil Procedure, Section 1147.20.

ha

, a member of The Superior Court Arbitration panel, shall serve as arbitrator.

a All cross complaints have heen filed.
4. A fictitious and named defendants /cross-defendants who have not fied an answer are dismissed.

5. The court retains jurisdiction over motions to enforce the arbitration award and other post-arbitration
motions.

Executed this... day af. et.

Plaintiff Attorney for Plaintiff

Defendant Attorney for Defendant

ORDER

It is so ordered:

DATE; JUDGE

» Case 2:10-cv-04941-SVW-FFM Document1 Filed 07/06/10 Page 22 of 26 Page ID #:22

OF CALIFORNIA, COUNTY OF LOS ANGELES

{ SUPERIOR COURT
; ALTERNATIVE DISPUTE RESOLUTION (ADR} INFORMATION PACKAGE

[CRC 3.221 information about Alternative Dispute Resolution)

: Far additional ADR information and forms visit the Court ADR web application at www.lasuperiorcourt.org (click on ADR)

The plaintiff shalt serve a copy of ths information Package on each defendant along with the complaint (Civil only)

What Is ADR:
Alternative Disoute Resolution (ADR) is the term used to desenbe all the other optians avaiable for settling a dispute which once had to

be settled in court, ADR processes, such as arhitration, mediation, neutral evaluation (NE), and settlement conferences, aré jess formal
than a court process and provide opportunities for parties 10 reach an agreement using a problem-solving approach

|

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i
|
i

There are many different kinds of ADR. All of them ublze a “neutra’’, an enpartiat person, to decide the case or help the parties reach an
| agreement ;

Mediation:

in mediation, a neutral parson called a “mediator” helps the parties try to reach a mutually acceptable resolution of the dispute The
mediator does rot decide the dispute but helps the pamties commuricate $0 they can try to Sette the dispute themselves Mediahon
leaves control of the outcome with the parties

Cases for Which Mediation May Be Appropriate

Mediation may be particulary useful when partes have a dispute between or among farniy members, ne@ghbors. of business
partners Mediation is alsa effective when emotions are getting in the way of resolution An effective mediator can hear the
partes out and help them communicate with each other in an effective and nondestructive manner,

i
Cases for Which Mediation May Not Be Appropriate {
Mediation may not be effective if one of the parties is unwilling to cooperate or compromise. Mediation also may not be effective ifi
one of the parties has @ significant advantage in power over the other, Therefore, it may not be a good chaice if the parties have \
a history of abuse of victimization :
Arbitration: }
In arbitration, a neutral person called an “arbitrator” hears arguments and evidence from each side and then decides the guicome o! the
dispute. Arbitration is less formal than a trial, and the rules of evidence are aften relaxed. Arbitration may be either “binding” or i
“panbinding ” Binding arbitration means that the parties waive their right to a trial and agree to accept the arbitrator's decision as final

Nondinding arbitration means that the parties are free to request a trial if they do not accept the arbdratars decision.

Cases for Which Arbitration May Be Appropriate

Arbitration is best for cases where the parties want another person to decide the outcame of ther dispute for them but would like
| to avoid the formality, time. and expense of a tral. lt may also be appropriate for complex matters where the parties want @
decision-maker who has training of expenence in the subject matter of the dispute

Cases for Which Arbitration May Not Be Appropriate

if panies want to retain control over how their disoute is resolved, arbitration, particularly binding arbitration, 15 not appropriate In
binding arbitration, the parties generally cannot appeal the arbitrators award, even if itis not supported by the evidence or the
law. Even in nanbinding arbitration, if a party requests a traf and does not receive a more favorable result at tnal (han in
arbitratian, here may be penalties.

! Neutral Evaluation:

in neutral evaluation, each party gets a chance to present the case to a neutral person called an “evaluator " The evaluator then gives an
opinion on the strengths and weaknesses of each party's evidence and arguments and about how the dispute could be resolved. The
evaluator is often an expert in the subject matter of the dispute. Although the evaluatar's opinion is not binding, the parties typically usé it
aS a basis for trying to negotiate a resolution of the dispute

Cases for Which Neutral Evatuation May Be Appropriate i
Neutral evaluation may be most appropriate in cases in which there are technical issues that require special expertise toresalve |
or the only significant issue in the case ts the amount af damages

: Cases for Which Neutraf Evaluation May Not Be Appropriate
Neutral evaluation may not be appropriate when there are significant personal or amotional barriecs to resoiving the dispute

Settlement Conferences:

| Settlement conferences may be either mandatary or voluntary. In both types of settlement conferences, the parties and their atiorneys
meet with a judge or a neutral person called a “settlement officer" to discuss possible settlement of thew dispute. The judge or settlement
officer does not make a decision in the case but assists the parties in evaluating the strengths and weaknesses of the case and in
negotating a settlement. Settlement conferences are appropriate in any case where settiement is an option Mandatory settiernent
conferences are often hatd close to the date a case 1S set for trial

LAATIR, O05 (05-09)
LASC Approved Page tote

. Case 2:10-cv-04941-SVW-FFM Document1 Filed 07/06/10 Page 23 of 26 Page ID #:23

LOS ANGELES SUPERIOR COURT ADR PROGRAMS

CIVIL:
» Civil Action Mediation (Governed by Code of Civil Procedure (CCP) sections 1775-1774 18, California Rules of Court, rules 3850-3. 868 and
3,870-3.878, Evidence Code sections 1115-1128, and Los Angeles Supenor Court Rides, chapter 12.)

+ Retired Judge Settlement Conference
+ Neutral Evatuatian (Governed by Log Angeles Superior Count Rules, chapter 12)
~ Judicial Arbitration (Governed by Code of Civil Procedure sections 1141. 10-1141.31, Catiforma Rules of Court, rules 3.810-3.830, and Los
Angeles Supenor Court Rules, chapter 12.}
« Eminent Domain Mediation (Governed by Code of Civ Procedure section 1250 420)
+ Civil Harassment Mediation
+ Smait Claims Mediation
FAMILY LAW (non-custody):
+ Mediation
« Forensic Certified Public Accountant (CPA) Settlement Conference
+ Settlement Conference
* Nonbinding Arbitration (Governed by Family Code sectian 2554 )
PROBATE:
+ Mediation
« Settlement Conference

NEUTRAL SELECTION

Parties may select a mediator, neutral evaluator, or arbitrator from the Court Party Select Pane or may hire someone privately, at their
discretion. If the parties utilize the Random Select Mediation or Arbitration Panel, the parties will be assigned on a random basis the

name of one neutral who meets the case criteria entered on the court's website

COURT ADR PANELS
Party Select The Party Select Panel consists of mediators, neutral evaluators, and arbitrators who have achieved a specified level
Panel of experience in court-connected cases. The parties (collectively) may be charged $150.00 per hour far the first three

hours of hearing time. Thereatter, ihe parties may be charged for additional hearing time on an hourly basis at rates
established by the neutral if the parties consent in writing

The Random Select Panel consists of trained mediators, neutral evaluators, and arbitrators who have not yet gained
the expenance to qualify for the Party Select Panei, as weil as experienced neutrals who make themselves available
pro bone as 4a way of supporting the judicial system. [tis the policy of the Court that all Random Select panel volunteer
mediators, neutral evaluators, and arbitrators provide three hours hearing time per case, Thereafter, the parties may
be charged for additionai hearing time on an hourly basis at rates established by the neutral if the parties consent in

Random Select
Panel

veriting. :
Private Neutral The market rate for private neutrais can range from $300-$ 1,000 per nour
ADR ASSISTANCE
For assistance regarding ADR, please contact the AOR clerk at the courthouse in which your case was filed.

COURTHOUSE ADORESS ROOM CITY PHONE FAX

Antonovich 42011 4th St. West None Lancaster, CA 93534 (661)974-7275 (66-1 )974-7060
Chatsworth 9425 Penfieid Ave. 4200 Chatsworth, CA 91314 (818)576-8565  (818)576-8687
Compton 200 W. Compton Bivd. 1002 Campton, CA 90220 (310}603-3072 = (310)223-0337
Glendale 600 E. Broadway 273 Glendale, CA 91206 (818)S00-3160 (818}548-5476
Long Beach 415 W. Ocean Bivd. 316 Lang Beach, CA 90802 (562 }491-6272 (§62}437-3802
Norwalk 12720 Norwalk Blvd. 308 Norwalk, CA 90650 (562807 -7243 (562}462-9019
Pasadena 300 E. Walnut St 109 Pasadena, CA $1101 (626)356-5685 (626 666-1774
Pomona 400 Civic Center Plaza 106 Pomona, CA 91766 (909}620-3183  (9059)629-6283
San Pedro 505 S. Centre 209 San Pedro, CA 90731 (310)819-6151 (310)8 14-0314
Santa Monica 1725 Main St. 203 Santa Manica, CA 90401 (310)260-1829  (310)319-6130
Stanley Mosk TiN. Hit St 119 Los Angeles, CA 90012 (213)974-8425 = (213)633-5115
Torrance 825 Maple Ave, 100 Torrance, CA 90503 (340)222-1701 (310)782-7326
Van Nuys 6230 Syimar Ave. 418 Van Nuys, CA 91401 (818}374-2337 (818)902-2440

LAADR 005 (05-09)
LASC Approved

Partially Funded by the Los Angeles County Dispute Resolution Program
A complete list of the County Dispute Resolution Programs is available online and upon request in the Clerk's Office

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Stephen V. Wilson and the assigned
discovery Magistrate Judge is Frederick F. Mumm.

The case number on all documents filed with the Court should read as follows:

CV10- 4941 SVW (FFMx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division LJ Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:10-ov-BAB42 SWEEP MA BSC Goa bv eens? USO SPR

I (a) PLAINTEFFS (Check box if you are representing yourself [_}) DEFENDANTS
KEN KING CHRISTIAN LASSEN; LASSEN INTERNATIONAL, INC.; and
DOES | to 30, inclusive

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing | Attorneys (If Known)

yourself, provide same.) Demery Ryan, SBN 217176
Paul J. Wright, Esq., CSB No. 146809 Littler Mendelson
Attorney At Law 2049 Century Park East, 5" Floor
24955 Pacific Coast Highway, Suite C-302 Los Angeles, CA 90067
Malibu, CA 90265 Phone: 310.553.0308
310.456.3812 /310.456.8558 Fax: 310.553.5583
ll. BASES OF JURISDICTION (Place an X in one box only.) Il. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
C] I U.S. Government Plaintiff CI 3 Federal Question (US. PTF DEF PTF DEF
Government Not a Party Citizen of This State Mi C1 Incorporated or Principal Place Cl4 C4
of Business in this State
[7] 2 US. Government Defendant [Ee] 4 Diversity (indicate Citizenship | Citizen of Another State [12 Bd 2. Incorporated and Principal Place []5 5
of Parties in Item IID) of Business in Another State
Citizen or Subject of a Foreign Country [[]3 ([]3 Foreign Nation Tie Cle

FV. ORIGIN (Place an X in one box only.)

C1 Original (] 2 Removed trom [“] 3 Remanded from [[] 4 Reinstated or CC] 5 Transferred from another district (specify): Clemuti- ((]7 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

V. REQUESTED IN COMPLAINT: JURY DEMAND: C] Yes be No (Check 'Yes' only if demanded in complaint.)
CLASS ACTION under F.R.C.P. 23: [[] Yes J No ([] MONEY DEMANDED IN COMPLAINT: § 200,000.00

Vi. CAUSE OF ACTION (Cite the U. S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

Diversity of Citizenship, 28 U.S.C. 1441 (a) and (b), 28 USC 1446, and 1332
VIL. NATURE OF SUIT (Place an X in one box only.)

OTHER STATUTES | CONTRACT = || —sTORTSS PRISONER = |———s LABOR

(C] 400 State Reapportionment [7] 110 insurance PERSONAL INJURY ole PETITIONS | ([] 710 Fair Labor Standards

[-] 410 Antitrust oO 120 Marine (] 310 Airplane PROPERTY ~~ [7] 510 Motions to Vacate Act

(J 430 Banks and Banking —[[] 130 Miller Act [-] 315 Airplane Product [_] 370 Other Fraud Sentence Habeas [_] 720 Labor/Memt.

(J 450 Commerce/ICC (1 140 Negotiable Instrument Liability [-] 371 Truth in Lending Corpus Relations
Rates/etc. [7] 150 Recovery of [[] 320 Assault, Libel & [[] 380 Other Personal {C] 530 General O 730 Labor/Mgmt.

Cl 460 Deportation Overpayment & Slander Property Damage Ol 535 Death Penalty i Reporting &

(_] 470 Racketeer Influenced Enforcement of (] 330 Fed. Employers’ [[] 385 Property Damage [[] 540 Mandamus/ | Disclosure Act
and Corrupt Judgment Liability Product Liability Other L_] 740 Railway Labor Act
Organizations oO 151 Medicare Act ([] 340 Marine _ BANKRUPTCY. — [[] 550 Civil Rights [1 790 Other Labor

([] 480 Consumer Credit (7) 152 Recovery of Defaulted [7] 345 Marine Product [) 22 Appeal28 usc) [[] 555 Prison Condition Litigation

{_] 490 Cable/Sat TV Student Loan (Excl. Liability 158 ~ FOREEITURE/ (CJ 791 Empl. Ret. inc.

(_] 810 Selective Service | Veterans) (-] 350 Motor Vehicle  (-] 423 Withdrawal 28 PENALTY |. Security Act

[_] 850 Securities/Commodities/ C] 153 Recovery of [[] 355 Motor Vehicle . USC 157 [] 610 Agriculture PROP ERTY RIGHTS
Exchange Overpayment of Product Liability ~ CIVIL RIGHTS. [J 620 Other Food & L_] 820 Copyrights

[_] 875 Customer Challenge 12 Veteran's Benefits [5] 360 Other Personal =] 441 Voting Drug [J 830 Patent
USC 3410 O 160 Stockholders’ Suits Injury K 442 Employment O 625 Drug Related Ct 840 Trademark

(_] 890 Other Statutory Actions (J 190 Other Contract CJ 362 Personal Injury- [7] 443 Housing/Acco- Seizure of SOCIAL SECURITY

["] 891 Agricultural Act [7] 195 Contract Product Med Malpractice mmodations Property 21 USC [7] 61 HIAC395ff)

(J 892 Economic Stabilization | Liability [J 365 Personal Injury-  ["]444 Weifare 881 ("] 862 Black Lung (923)
Act C] 196 Franchise Product Liability [7] 445 American with [_] 630 Liquor Laws ([] 863 DIWC/DIWW

[7] 893 Environmental Matters |. REAL PROPERTY [_] 368 Asbestos Personal Disabilities~  [[] 640 R.R.& Truck 405(g))

[] 894 Energy Allocation Act [_] 210 Land Condemnation Tigury Product Employment () 650 Airline Regs (_] 864 SSID Title XVI

(CJ 895 Freedom of Info. Act [_] 220 Foreclosure raputy [F446 American with [7] 660 Occupational —_[] 865 RSI (405(g))

[_] 900 Appeal of Fee Determi- [_] 230 Rent Lease & Ejectment IMMIGRATION. Disabilities ~ Safety /Health FEDERAL TAX SUITS
nation Under Equal (CJ 240 Torts to Land C 462 Naturalization Other we CJ 690 Other C1 870 Taxes (U.S. Plaintiff
Access to Justice Oo 245 Tort Product Liability Application LC] 440 outer Civil or Defendant)

[_] 950 Constitutionality of State [7] 290 All Other Real Property C] 463 Habeas Corpus- Rights [_] 875 IRS-Third Party 26
Statutes Alien Detainee USC 7609

L] 465 Other immigration
Actions
A t .
FOR OFFICE USE ONLY: — Case Number: 4, l 4¥a

1 4 st whe
AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

CV-7E (05/08) CIVIL COVER SHEET Page | of 2

American LegaiNet, Inc.
www.FormsWorkflow.com

Case 2:10-cveMPtb- SMEs Db TReHEeORE, GENERA L/BRERICTA0F CALPFSRNIRAGE ID #:26

CIVIL COVER SHEET

VIE(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? [><] No Oo Yes
If yes, list case number(s):

VIE(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? & No [] Yes
If yes, list case number(s):

Civil cases are deemed related if a previously filed case and the present case:

(Check all boxes that apply) [C] A. Arise from the same or closely related transactions, happenings, or events; or
(_] B. Call for determination of the same or substantially related or similar questions of law and fact; or
(1 c. For other reasons would entail substantial duplication of labor if heard by different judges; or
(CJ D. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District, California County outside of this District, State if other than California; or Foreign Country, in which EACH named plaintiff resides.
(7]_ Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

Los Angeles

(b) List the County in this District, California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
[] Cheek here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

County in this District:* California County outside of this District, State, if other than California; or Foreign Country

Christian Lassen resides in Hawaii; Lassen International, Inc. is a citizen
of Nevada and Hawaii.

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

Hawaii

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties

Note: In land condemnation cases, use the location of {Re tract of land involvedy __ , ,
X. SIGNATURE OF ATTORNEY (OR PRO PER): WV YUU KUNA pate, [IAT U i l 7 D
emery Ryan | CJ

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3 -1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended, (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

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